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                                  UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division



    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,

                                     Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

     v.                                                      JURY TRIAL DEMANDED

     JASON KESSLER, et al.,

                                     Defendants.



   PLAINTIFFS’ RESPONSE TO DEFENDANT CANTWELL’S MOTION IN LIMINE TO
    PROVIDE CANTWELL WITH ACCESS TO THE DISCOVERY AND NECESSARY
                       LEGAL MATERIALS AT TRIAL

          In this Motion in Limine (ECF No. 1122), Cantwell asks the Court to provide him with “all

   of the discovery material in this matter,” “any equipment necessary to present such exhibits to the

   jury,” and copies of the Federal Rules of Evidence and the Federal Rules of Civil Procedure at

   Defendants’ table during trial. ECF No. 1122, ¶¶ 2-3. This is not a motion in limine, of course,

   as it does not relate to the admission or exclusion of evidence at trial.

          Plaintiffs do not oppose Cantwell having access to discovery, equipment, or the rules

   applicable in this Court. Plaintiffs note, however, that Cantwell’s request for “all of the discovery

   material in this matter” encompasses an incredible volume of documents (more than 845,000

   documents have been produced in discovery), some of which are designated Highly Confidential




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   and may not be shown to pro se parties. In addition, Cantwell has already received discovery in

   this case, and it would be extremely burdensome to compile all the material he seeks at this stage.

          Nevertheless, if it would please the Court, Plaintiffs would provide the Court or the U.S.

   Marshals Service with electronic copies of the documents on Plaintiffs’ exhibit list that are not

   designated Highly Confidential, so they may be provided to Cantwell.



   Dated: October 12, 2021                              Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendants, via electronic mail, as follows:

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          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendant, via U.S. mail, as follows:

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   and

   Christopher Cantwell
   Christopher Cantwell - Inmate: 00991-509
   Grady County Law Enforcement Center (Oklahoma)
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                                                          /s/ David E. Mills
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